

People v McCullers (2023 NY Slip Op 51350(U))



[*1]


People v McCullers (Victor)


2023 NY Slip Op 51350(U)


Decided on December 13, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 13, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570415/17

The People of the State of New York, Respondent,
againstVictor McCullers, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Abena Darkeh, J.), rendered April 18, 2017, convicting him, upon his plea of guilty, of aggravated harassment in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Abena Darkeh, J.), rendered April 18, 2017, affirmed.
Defendant forfeited review of his speedy trial claim by pleading guilty (see People v Suarez, 55 NY2d 940 [1982]). The recent amendments to CPL 30.30, which, inter alia, permit a defendant who pleaded guilty to raise a statutory speedy trial claim on appeal (see CPL 30.30[6]), are not retroactive, and do not apply to criminal actions commenced prior to the January 1, 2020 effective date of the legislation (see L 2019, ch 59, part KKK, § 1), such as this 2016 action (see People v Galindo, 38 NY3d 199 [2022]; People v Hall, 210 AD3d 482, 483 [2022], lv denied 39 NY3d 1078 [2023]; People v Lara-Medina, 195 AD3d 542 [2021], lv denied 37 NY3d 993 [2021]).
Given the defects in the plea colloquy, and the absence of any other basis for finding voluntariness, defendant would be entitled to have his plea vacated. However, he does not request that relief, but instead seeks dismissal of the accusatory instrument, and he expressly asks this Court to affirm the judgment if it does not grant dismissal. In view of the seriousness of the charges, we do not find that dismissal would be appropriate and, therefore we affirm (see e.g. People v Teron, 139 AD3d 450 [2016]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: December 13, 2023









